            IN THE UNITED STATES BANKRUPTCY COURT
                   FOR THE DISTRICT OF KANSAS


IN RE:
TUFF TURF, INC.,                                         Case Number: 22-21176
                                                         Chapter : 11
                                        Debtor.
                   ___________________________________________

      NOTICE TO CREDITORS AND OTHER PARTIES IN INTEREST
                REGARDING PLAN CONFIRMATION

Notice is hereby given that the Debtor has filed a Chapter 11 Plan, Dated [Date
Filed].

A non-evidentiary hearing on confirmation of the Chapter 11 Plan will be held on
May 11, 2023 beginning at 1:46 p.m. before the United States Bankruptcy Court,
500 State Avenue, Courtroom 144, Kansas City, Kansas, at which time the debtor
or its representative must personally appear.

December 2, 2022 is fixed as the date on which any equity security holder or
creditor whose claim is based on a security must be the holder of record of the
security in order to be eligible to accept or reject the Chapter 11 Plan.

All objections to the Chapter 11 Plan should be filed with the Clerk of the
Bankruptcy Court, 500 State Avenue, Room 161, Kansas City, Kansas 66101 on or
before April 17, 2023 and served upon counsel for the Debtor.

April 17, 2023 is fixed as the last day for receipt of acceptances or rejections of the
Chapter 11 Plan. All ballots must be received at the address listed on the ballot
prior to 4:00 p.m. on that date to be counted.

On or before March 14, 2023, there should be mailed to all parties in interest, or
parties required to receive notice by the Code, a copy of this Notice, the Chapter 11
Plan, and appropriate forms for the acceptance or rejection of the Plan. A
certificate of service must be filed with the court no later than March 21, 2023, and
a ballot summary no later than May 8, 2023.


      Dated: March 9, 2023                         s/ Dale L. Somers
                                                   Hon. Dale L. Somers
                                                   United States Bankruptcy Judge




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